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                                    STATEMENT OF FACTS

        Your affiant, Michael Fulton is a Detective with the Metropolitan Police Department
(“MPD”), Homicide Branch and has been since 1990. As a Detective with the Metropolitan Police
Department, I am authorized by law or by a Government agency to engage in or supervise the
prevention, investigation, or prosecution of a violation of criminal laws within the District of
Columbia. The information contained in this affidavit is based on my knowledge of the
investigation and information provided by other law enforcement officers. Because this statement
of facts is being submitted for the limited purpose of establishing facts sufficient for the charges
in the complaint, I have not included each and every fact known to me concerning this
investigation. I have set forth only the facts that I believe are necessary to establish probable cause
to believe that evidence exists of violations of the following statutes: Title 18, United States Code,
Section 1201(a)(1); Title 18, United States Code, Section 924(c)(1)(iii); and Title 18, United States
Code, Section 2.

Initial Investigation

1.       On May 2, 2009 at approximately 7:44 p.m. in the area of 5221 Indian Head
 Highway/Route 210, Prince George’s County, MD, an officer with the Prince George’s County
 Police Department, hereinafter referred to as W-1 or Witness-1, was sitting in a marked patrol car
 waiting for the traffic light to turn green. This area is right by the Eastover Shopping Center which
 is very close to the border between Maryland and the District of Columbia. W-1 reported hearing
 a gun shot behind him and looking in his rear view mirror. W-1 observed two vehicles to the rear
 of the Check Cashing store, one was a gray SUV/minivan, the other a gray 4 door sedan, possibly
 a Crown Victoria. W-1 exited his cruiser and attempted to run toward the vehicles, however, they
 fled onto Highway 210 toward Washington, D.C. W-1 returned to his cruiser and gave chase.
 Radio communications that take place as the chase is ongoing give a sense of the speed in which
 the situation unfolded.

2. On May 2, 2009 at approximately 7:55 p.m., callers began reporting the presence of a
suspicious vehicle in the area of the 3800 block of Halley Terrace, S.E./20 Mississippi Avenue,
S.E., Washington, D.C. Within a few minutes of receiving the 911 calls, law enforcement officers
located a gray Chrysler Pacifica with the engine still running. In the front passenger seat, officers
located the decedent, later identified as Kareem Ware, suffering from multiple gunshot wounds.
The decedent was a black male, dark complexion, wearing blue jeans, a white t-shirt, brown sweat
jacket, brown boots, white socks, and a black belt. D.C. Forensic Investigator Denise Lyles
responded to the scene and officially pronounced the decedent dead at 11:45 pm. The decedent’s
remains were transported to the Office of the Chief Medical Examiner for an autopsy to determine
the cause and manner of death.

3. On May 3, 2009, an autopsy was performed by Dr. Carolyn Revercomb on the remains of
 Kareem Ware. She determined that he suffered from three gunshot wounds to the head, two of
 which showed signs of powder tattooing near the entrance wounds, indicating that they were fired
 from a close range. Dr. Revercomb determined that the cause of death was multiple gunshot
 wounds to the head and the manner of death was homicide.

4. During the initial investigation it was decided that, because the gunshots were heard/observed
 on the Prince George’s County side of the border, that Prince George’s County Homicide Unit
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would take the lead in the investigation. Throughout the investigation, detectives with Prince
George’s County Police, the Metropolitan Police Department, and agents with the Federal Bureau
of Investigation interviewed a number of civilian and law enforcement witnesses and enlisted the
assistance of a number of experts.

Statement of Witness-1, Prince George’s County Police Officer

5. Detectives interviewed W-1, the officer who initially heard and observed the gunshots near the
 Eastover Shopping Center. W-1 provided a written statement to detectives, the first part of which
 appears to be more of a summary of the events that unfolded as opposed to W-1’s specific factual
 observations, which are reflected in W-1’s initial radio communications and during the question
 and answer portion of W-1’s written statement. For example, when W-1 begins the vehicle chase,
 on the radio communications W-1 reports initially that the SUV he is chasing is a blue
 SUV/minivan, later correcting that it is actually gray or silver and indicating he does not know the
 make or model. However, in W-1’s written statement, W-1 refers to the vehicle throughout as a
 gray Chrysler Pacifica, because, by the time he provided the statement to detectives, this fact has
 been determined by law enforcement. Along these lines, W-1 also states in the initial paragraph
 that when he first saw the vehicles near the Eastover Shopping Center he “observed several males
 hanging out of both vehicles pointing guns at one another then discharging multiple rounds”
 however, when asked specific questions in the statement about what he saw and as he was
 providing information to the dispatcher in real time, it is clear that these are assumptions and
 conclusions W-1 made. Similarly, W-1 also described that the occupants of the gray SUV “bailed
 out,” with the exception of the front passenger who was dead. However, as is reflected in the
 radio communications and later in W-1’sstatement, it is clear W-1 did not actually see this, rather
 this is a conclusion he was drawing based on the fact that when the SUV was recovered, the only
 person still in the vehicle was the decedent. In this affidavit, the undersigned has attempted to
 include only W-1’s observations, as opposed to W-1’s conclusions or assumptions.

6. During the interview with detectives, W-1 stated that while at the traffic light in the 5200 block
 of Indian Head Highway/Route 210, he heard a gunshot behind him and looked in his rear view
 mirror. When W-1 looked in the rear view mirror, he was able to see a gray SUV and a gray 4
 door sedan. W-1 stated he observed a gray SUV with occupants inside exchanging gunfire out of
 the window. W-1 stated that the occupants were pointing guns toward the parking lot of the 5200
 block of Indian Head Highway/Route 210 and were exchanging gun fire. Specifically, W-1
 observed the passenger in the back seat pushing his hand forward with a black in color object and
 exchanging fire. W-1 then observed the front passenger leaning out with the door open and with
 something black in color in his hand. After the gunfire was over, the back passenger pulled the
 front passenger back into the vehicle. Witness-1 observed that when the gray SUV exited the
 parking lot onto Audrey Lane heading toward Indian Head Highway/Route 210, the passenger
 door was open and the front passenger was hanging out of the door. The rear passenger pulled
 him in and shut the passenger door after the driver came to a complete stop on Audrey Lane.

7. W-1 stated that during the vehicle pursuit he quickly lost sight of the silver 4 door sedan and
 instead followed the gray SUV where he lost sight of the vehicle in a side alley of Yuma St. in
 Washington, D.C.. W-1 stated he again saw the SUV in the 3800 block of Halley Terrace, S.E..
 At this time, the driver’s door and driver’s side rear passenger door were open. The only passenger
 in the car was the front passenger who was suffering from a gunshot wound to the head. W-1
 further stated that during the pursuit he saw two individuals in the front of the SUV and one in the
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rear. W-1 recalled that the driver was wearing a white shirt with sun glasses and the front
passenger also had a white shirt.

8. Witness-1 was again interviewed briefly in 2020 and in 2022. During these interviews, W-1
 reviewed his prior statements and listened to the recorded radio runs from the incident. In response
 to questions, W-1 provided the following sworn testimony. Witness-1 stated that he heard a shot,
 drawing his attention to a gray SUV. He then heard another gunshot and saw what appeared to be
 a muzzle flash coming from the gray SUV. Witness-1 observed the front passenger (later
 determined to be the decedent) leaning out of the passenger door with something black in his hand,
 which could have been a gun or a cell phone. Witness-1 also observed the back seat passenger
 (defendant Evans) pulling the front seat passenger back in the vehicle, still holding a gun in his
 hand. Witness-1 stated he believed, given the circumstances, that the two individuals in the gray
 SUV were exchanging fire with a second car, described as a Crown Victoria. However, Witness-
 1 stated he never actually saw anyone in the Crown Victoria with a gun.

9. Witness-1 reported that the gray SUV and the Crown Victoria both sped off. Witness-1 stated
 that as the gray SUV pulled off, it appeared that the back passenger and front passenger were
 struggling. The front passenger door was finally pulled shut when the vehicle turned onto Route
 210 from Audrey Lane. The gray SUV then floored it and headed straight into D.C. Witness-1
 estimated that it took 30 seconds or less for the vehicle to enter the District of Columbia. Prior to
 leaving the Eastover Shopping Center, Witness-1 stated he never observed the rear passenger fire
 two bullets at close range into the head of the decedent. As Witness-1 was following the gray
 SUV on Livingston Road, in the District of Columbia, the passenger in the back seat and passenger
 in the front seat appeared to be struggling with one another. At that point, on Livingston Road in
 the District of Columbia, the front passenger appeared to be alive.

10. At some point after Witness-1 observed the struggling, as they were making turns during the
 chase, he saw the front seat passenger with his head going toward the window. While following
 the vehicle, Witness-1 did not hear gunshots, however, he stated it was possible shots were fired
 within the gray SUV as he was chasing the vehicle. Specifically, Witness-1 ficer stated that after
 a short distance – when he was on Livingston Road – he began to lose ground on the gray SUV
 during the pursuit. Additionally, Witness-1 was on the radio relaying information to the
 dispatcher. Witness-1 stated that after crossing Southern Avenue from Maryland into D.C., he
 only followed the vehicle in D.C. until he lost sight of it.

Additional Witness Interviews

11. Law enforcement also spoke with the following individuals in the area where the gray Chrysler
 Pacifica was located. A witness herein identified as W-2 reported seeing a black male wearing a
 brown jacket in the roadway who looked like he exited the vehicle.

12. Another witness, identified herein as W-3, stated that IT saw a suspect bail out of the vehicle.
 W-3 described the individual as a black male, 5’6”, 140-150 lbs wearing a white tank top, blue
 jeans and fancy sunglasses. A follow up interview with W-3 was conducted in August 2014.
 During that interview, W-3 stated that IT recalled seeing a vehicle turn onto Halley Terrace. W-3
 could only see the back and maybe the top of the vehicle, however, W-3 was able to observe a
 black male run from the vehicle and into the woods. The male remained in the woods as the police
 sped through the area. The male waited in the woods until the police were gone – for
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 approximately one minute -- then ran out of the area onto First Street in the direction of the 100
 block of Yuma Street. W-3 stated IT believed IT pointed out to officers on the scene the area
 where the male ran. W-3 stated that when the male ran to the woods, W-3 observed the male take
 off a shirt or something while hiding from the police. When interviewed in 2014, in terms of
 describing the male, W-3 could only remember that the male was not light-skinned, and was
 possibly dark complected.

13. Law enforcement also spoke with two witnesses in the Eastover Shopping Center. On May 2,
 2009, another witness, hereinafter referred to as W-4, was interviewed and stated the following.
 IT observed a dark gray SUV come across the parking lot of the Eastover Shopping Center. IT
 observed a young man driving and another man running behind who jumped through the passenger
 window. They then drove off through the parking lot onto East Capital Street. W-4 also stated
 that IT heard a gunshot before the event, but did not see the shooting or who was shooting. W-4
 stated that IT heard 3 shots, but it could have been more. W-4 stated that the driver was brown
 skinned wearing a black hat and the person running toward the SUV was wearing blue jeans and
 tennis shoes, possibly black and white. W-4 stated IT could not tell if anyone else was in the
 SUV, IT did not see anyone else with a gun, and IT did not see anyone else drive away. It is not
 clear if the dark gray SUV that W-4 is referring to is the Chrysler Pacifica. In 2020, W-4 was
 again interviewed. At that time, W-4 stated IT had no recollection of these events and had no
 recollection of ever providing a statement to police. W-4 inferred the statement was made by
 someone who had stolen ITs identity.

14. On May 2, 2009, a witness, hereinafter referred to as W-5, was interviewed and reported the
 following. While standing outside the DTLR in the Eastover Shopping Center, IT overheard an
 argument, but could not see who was involved in the argument. IT then heard 3-4 gunshots and
 observed a silver Lincoln Continental, 4 door, with dark tinted windows drive away. W-5 was
 interviewed again in 2020. At that time, W-5 confirmed the information in ITs 2009 statement.
 W-5 stated that IT did not recall seeing any police at the time of the incident.

15. During the investigation, law enforcement also identified the owner of the Chrysler Pacifica,
 hereinafter referred to as W-6. W-6 stated that IT allowed another individual, identified as W-7,
 to drive the Chrysler Pacifica. W-6 stated that at 8:01 pm on May 2, 2009, W-7 called IT and
 stated that W-7 was carjacked at the BP gas station on Wheeler Rd. W-6 went to Wheeler Rd and
 located W-7 and then W-6 called the police to report the incident. When W-6 arrived at Wheeler
 Rd., it observed W-7 in the parking lot sitting in what W-6 described as a blue Cadillac. At the
 time, no one else was in the Cadillac with W-7. W-6 stated IT had never seen the Cadillac before.
 W-6 was asked to identify W-7’s close friends, and W-6 identified two individuals to include
 “Sieve.” W-6 described “Sieve” as a black male, brown skin, dreads, medium build, 22 or 23
 years old, with facial hair. In the statement it is unclear if W-6 stated that “Sieve” is approximately
 5 feet tall or 5’11”. W-6 was shown a photograph of Saeve Evans, PDID 542-667, who IT
 positively identified as the individual IT knew as “Sieve.” When W-6 was asked when W-7 last
 saw Saeve, W-6 stated that, to IT’s knowledge, W-7 was last with Saeve that day.

16. Law enforcement also spoke with W-7. Initially, W-7 reported that at approximately 7:50-
 8:00 pm, IT was carjacked at a BP gas station on Wheeler Rd. W-7 stated that IT was approached
 by three black males wearing white t-shirts, blue jeans and masks who demanded the vehicle and
 W-7 stated IT complied because W-7 thought they had guns. W-7 also stated that none of the
 men showed or implied that they had a weapon. After the car was stolen, W-7 stated IT went
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across the street and used the phone to call someone to pick IT up and after called W-6 to tell W-
6 that the car had been stolen. According to W-7, W-7 called IT’s buddy Carlos, whose number
was 202-421-xxxx to pick up W-7.          W-7 described Carlos as a black male, 6’1”, medium
complexion, in his 20s, slim build, short hair cut, wearing a green polo shirt.

17.      Law enforcement investigated W-7’s account as well as the information that was provided.
La enforcement also learned that the vehicle (the blue Cadillac) that W-7 was found in by W-6
after the alleged carjacking was registered to a Nakia White, with an address of 1011 14th Street,
S.E. Apt. 32, Washington, D.C. This is the same address that is shared by Saeve Evans’s mother
and has been linked to Saeve Evans. Additionally, numerous personal papers were recovered
from the vehicle, including many in the name of Saeve Evans. Law enforcement also reviewed
surveillance footage from the BP gas station where the alleged carjacking was to have taken place
and the footage did not support W-7’s account of the alleged carjacking.

18. When confronted with this information and told that IT could be charged with a crime, W-7
eventually admitted that IT and Saeve Evans had exchanged vehicles earlier on May 2, 2009, i.e.,
the gray Chrysler Pacifica and the blue Cadillac. W-7 stated that at some point that evening IT
received a call from an unknown caller telling IT that IT needed to file a stolen vehicle report for
the gray Chrysler Pacifica.

19. A witness, hereinafter referred to as W-8 was interviewed in both 2011 and 2012. When W-8
was interviewed in 2011, IT was facing significant felony charges. When W-8 was interviewed
in 2012, W-8 had entered into a cooperation agreement with the government in which W-8 agreed
to plead guilty to significant felonies in return for the government providing information to the
sentencing judge about W-8’s cooperation. W-8 stated that, at the time, IT had known an
individual by the name Saeve Evans for over five years and saw Evans regularly. W-8 was shown
a confirmation photograph of Saeve Evans, PDID 542-667 and W-8 positively identified it as the
individual IT knew as “Saeve.”

20. W-8 indicated that Saeve Evans had access to more than one vehicle, but that Evans drove a
Cadillac that W-8 described as green. W-8 stated that IT last saw Evans drive that Cadillac in the
summer of 2009.

21. W-8 identified Saeve Evans as an individual who sold large quantities of PCP and cocaine in
Southeast, D.C. in late 2008/2009. W-8 also identified the decedent in this case by the nickname
“B.” W-8 stated that in 2009 IT also knew “B” to sell large quantities of cocaine in the area of
Oak Park, in Southwest, D.C. When asked when “B” was killed, W-8 stated it was in the summer
of 2009, however, W-8 did not know the month. W-8 stated that “Fat Fat” shot him up with Saeve
Evans. When specifically asked who shot “B”, W-8 stated “Saeve.” W-8 stated that in the summer
of 2009 IT heard Saeve state that “Fat Fat” had him on a “fluke mission,” meaning a robbery gone
bad. Evans elaborated that when they met “B” for a drug deal it got ugly and Evans had to shoot
him in the head. Evans stated that he (Evans), “Kamau,” and “Fat Fat” picked up the decedent in
the area of Oak Park in Southwest, D.C. and that “Fat Fat” was driving the car. When interviewed
in 2011, W-8 stated that IT recalled Evans stating that “Kamau” was in the front passenger seat
and “B” was in the rear seat with Evans, however, in 2012, W-8 could not recall where Evans
indicated people were seating other than the driver. W-8 stated that Evans said that the plan was
to pick up the decedent and then “Fat Fat,” “Kamau”, and Evans would rob the decedent of
whatever drugs and/or money the decedent had available. The group traveled toward Southern
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Avenue (the border between MD and DC). According to Evans, things got ugly during the course
of the robbery when the decedent saw the police and tried to take the gun from Kamau. Evans
stated at that point he shot the decedent in the head because there was no telling what the decedent
would have done if he was able to get the gun from “Kamau.” Evans stated that the police then
chased them in the car from Maryland into D.C.

22. W-8 stated that Evans also indicated that he believed he left a shirt, hat and a CD in the car
that was used during the robbery/murder. Evans stated he was also frustrated because “Fat Fat”
told him that the decedent was supposed to be a big target, but it turned out that he was not.

23. W-8 identified the individual IT knew as “Scorpio” or “Fat Fat.” W-8 stated IT knew “Fat
Fat” from the area of Oak Park. W-8 was shown a photograph of Scorpio Phillips, PDID 508-
486, who IT positively identified as “Scorpio” or “Fat Fat.”

24. W-8 stated that IT had known “Kamau”/“Kamal” for years and knew “Kamau”/“Kamal” also
went by the nickname “Malaki.” W-8 stated IT did not know “Kamal’s” last name, but stated his
brother’s last name is Blakey. W-8 was shown a photograph of Kamau Blakney, PDID 508-486,
who IT positively identified as “Kamal.”

25. In June 2014, Scorpio Phillips, aka “Fat Fat” was interviewed by law enforcement. Phillips
has since been murdered. Phillips admitted to knowing the decedent in this case and stated he
knew the decedent to hang out in the Oak Park neighborhood in Southwest, Washington, D.C., but
claimed that he did not know the decedent to ever sell drugs. Phillips also stated that he knew
Saeve Evans by name and knew his nickname as “Sy” and stated he had spoke to him one time
since returning from USP Lee in February 2014. Phillips denied any knowledge of the
circumstances of Ware’s murder.

26. An individual, identified herein as W-9, called law enforcement and stated that an individual
named Lamont Jenkins allegedly knows that the shooter is someone who drives a Honda Element,
DC Tags CJ 6312 who may live at 801 Kenilworth Ave. The investigation has not revealed any
additional information in connection with this tip.

27. During the investigation, detectives became aware that a murder occurred on April 28, 2009 in
 Condon Terrace. The victim was Richard Robinson and, given the date and close physical
 proximity, it was speculated that there could be a connection between the murder of Robinson and
 the murder of Kareem Ware. Since that time, an individual named James Rico Wood was arrested
 and pled guilty to the murder of Robinson. The investigation has revealed no connection between
 the murder of Richard Robinson and the murder of Kareem Ware. Additionally, MPD Intel also
 reported that the areas of Irving St., SE and Yuma St., S.E. were “beefing.” The investigation has
 revealed no connection between this “beef” and the murder of Kareem Ware.

28. Family members of Kareem Ware reported that individuals at the decedent’s funeral reported
that the suspects were from Oak Park in S.W. Washington, D.C.

29. An additional witness, W-10, was interviewed. At the time of the murder W-10 was in a close
relationship with the decedent. W-10 stated that when the decedent left ITs home the day the
decedent was murdered, IT was lying in bed. W-10 stated that IT overheard a phone conversation
between the decedent and another individual. Based on what the decedent said, W-10 believed
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that the decedent was heading out to meet the person on the other end of the phone. W-10 stated
that after the call, the decedent asked W-10 to borrow W-10’s vehicle so that IT could run to the
store. W-10 assumed that the decedent was referring to a store in the Eastover Shopping Center
given that was the closest shopping center. W-10 stated IT never actually saw where the decedent
went as IT remained inside the building. W-10 stated that when IT last saw the decedent, he was
carrying a bag, which W-10 described as a brown paper bag. W-10 stated IT believed there was
money or drugs in the bag. W-10 stated ITs belief was based on the fact that shortly after the
decedent was killed, an individual who was close to the decedent came to W-10’s apartment and
stated IT was looking for drugs, money and a gun that belonged to the decedent. W-10 stated that
despite looking, the individual could not find any drugs or money and these items appeared to be
missing. W-10 stated that the individual did find a gun, hidden underneath a sink. W-10 stated IT
had no idea that the gun had been hidden under the sink. W-10 also stated that IT had never seen
drugs in the apartment, but that the decedent would not have allowed W-10 to see drugs in ITs
apartment.

30. W-10 stated that when the decedent left, he had W-10’s car keys as well as a wallet, however,
W-10 stated that IT did not believe the decedent carried bank cards or credit cards. W-10 stated
that ITs best recollection is that the decedent left around 7:00pm or 7:15 pm. W-10 also stated
that the decedent had keys, which included W-10’s apartment key, that the decedent normally
carried. W-10 could not recall whether the decedent carried the keys on a lanyard or on a key ring.

31. During the meeting with W-10, discussed above, W-10 stated IT went looking for ITs vehicle
the day following the murder. W-10 stated that IT located ITs vehicle in the Eastover Shopping
Center parked directly in front of the DTLR. W-10 stated that the vehicle was a rental vehicle and
that the keys associated with the vehicle included a tag from the rental company. Upon locating
the vehicle, no keys could be found for the vehicle. W-10 was told by the rental company that IT
had to return the vehicle with keys or else it would be charged a significant amount of money.
Thus, W-10 reached out to a lock smith and paid approximately $500 to obtain a new key fob for
the vehicle. W-10 stated that IT then returned the vehicle to the rental car company. Prior to
returning the vehicle, W-10 stated that IT observed there was nothing in the vehicle belonging to
the decedent. Specifically, there were no drugs, money, brown paper bags, or other personal
belongings of the decedent. Additionally, W-10 stated that the set of car keys that IT previously
gave to the decedent were not located in the vehicle.

Forensic Evidence

32. On May 2, 2009, evidence technicians responded to two scenes, to include the area behind the
 Check Cashing store located in the area of the 5200 block of Indian Head Highway/Route 210 in
 Prince George’s County Maryland. In this area, technicians located/swabbed two areas where
 they identified what appeared to be drops of blood in the roadway. The area of the blood droplets
 was consistent with the area where the gray Chrysler Pacifica was observed by W-1 prior to the
 front passenger being pulled back into the vehicle by the back passenger. The swabs were later
 tested and compared to DNA profiles developed from samples obtained from, among others
 Kareem Ware and Saeve Evans. The DNA profile developed from these samples is consistent
 with the known DNA profile of Kareem Ware.

33. The second area where evidence was processed was the location of the recovery of the Chrysler
 Pacifica in the 3800 block of Halley Terrace/20 Mississippi Avenue, S.E.. Inside the vehicle, there
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 was a significant quantity of blood and brain matter. Additionally, a box cutter and folding knife
 were recovered from inside the glove box. Located on the driver’s seat was a black skull cap and
 documents belonging to the decedent, Kareem Ware.

34. A canine unit was called to the area where the Chrysler Pacifica was recovered and tracked to
 a wooded area on the block where a dark colored jacket and sunglasses were recovered. Inside
 the pocket of the jacket law enforcement recovered a Chevy Chase check card in the name of Saeve
 Evans. Technicians also found a blood trail from the back seat of the driver’s side of the Chrysler
 Pacifica leading toward the 3800-3900 block of South Capitol Street. Later testing on the swabs
 of blood from inside the vehicle and outside the vehicle were consistent with the DNA profile
 developed from the sample obtained from the decedent Kareem Ware. Swabs from the arms and
 nose pad of the sunglasses were compared and found to be consistent with the DNA profile that
 was developed from the sample obtained from Saeve Evans. Swabs taken from the arms of the
 dark colored jacket, on areas that had staining consistent with possible blood, were compared and
 found to be consistent with the DNA profile that developed from the sample obtained from the
 decedent Kareem Ware. Cuttings taken from the inside neckline of the jacket did not yield a DNA
 profile so no conclusion could be reached. A cutting from the outside bottom edge near the zipper
 of the jacket yielded a mixed DNA profile that is consistent with the DNA profile of the decedent
 Kareem Ware and additional minor alleles at three loci from at least one unknown contributor.
 Saeve Evans is excluded as a possible contributor from that minor profile.

35. A trajectory analysis was conducted in this case and revealed a possibility of two shooters. A
 subsequent firearms analysis was conducted on (1) a fired bullet jacket, lead bullet core, fired
 bullet jacket fragment recovered from the decedent’s remains during the autopsy; (2) a fired bullet
 jacket fragment and lead fragment recovered from the decedent’s remains during the autopsy, (3)
 two fired bullets recovered from the front door of the Chrysler Pacifica, and (4) two 9mm Luger
 cartridge casings recovered from the floor of the Chrysler Pacifica. The examination indicated
 that the two cartridge casings were fired in the same unknown firearm. The fired bullets and fired
 bullet jacket, lead bullet core, and fired bullet jacket fragment were fired from the same firearm.
 The final item had no microscopic value for comparison.

36. The trajectory analysis conducted in this case also looked at the defects noted on the interior
 side of the passenger’s front door and the passenger’s side door post. Based on the analysis of the
 path of the projectile that made these defects, the analyst concluded that the weapon was
 discharged from the rear passenger’s seat area. The examination also revealed that the passenger’s
 front door was open approximately 1’8” [one foot, eight inches] when the weapon was discharged
 causing these defects.

37. A blood spatter analysis was conducted of the crime scene inside the Chrysler Pacifica. The
 examiner concluded that the decedent was inside the car when the incident took place, however,
 the front passenger side door was at least partially open at some point when blood was spattered
 for the blood pattern to occur in the door jam and rocker panel molding area. Based on the wipe
 patterns in the blood throughout the car, as well as the areas of the car that were void of blood, it
 is consistent that an object (i.e., a person) was sitting in the driver’s seat, front passenger seat, and
 both rear seats. There was one pattern that did not indicate that the victim who was struck and
 bleeding was in the front passenger area and this was a droplet pattern that appeared on the roof
 pillar near the driver’s seat belt attachment. This pattern would indicate a source of blood coming

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from the rear to the driver’s side front. All other patterns indicate that the person who was struck
and bleeding was in the front passenger seat area.

38. The blood spatter expert also has opined that with a gunshot exit wound there will be a large
 amount of misting and forward spatter that results from blood travelling in the same direction as a
 result of an external force applied. In other words, the blood travels in the same direction as the
 bullet itself. The expert has opined that some of the forward spatter patterns in the front passenger
 area are consistent with a bullet traveling from back to front while the passenger was seated in the
 front passenger seat facing forward. This is consistent with the decedent sitting in the front
 passenger seat facing forward as opposed to hanging out of a vehicle.

39. The medical examiner in this case has also opined that with respect to the wound identified as
 Gunshot Wound A that is referenced in her autopsy report, this wound was the most superficial of
 the three head wounds sustained by the decedent. She has opined that this wound was the least
 likely to be fatal and it may not have killed the decedent had he received prompt medical treatment.
 Without medical treatment, the decedent would have survived for some amount of time, calculated
 in terms of minutes, not hours. Additionally, the medical examiner has opined that after receiving
 this wound, the decedent could have still been moving around. The medical examiner has opined
 that the two other wounds - Gunshot Wounds B and C - resulted in more direct brain injuries to
 the decedent. Both of these wounds also showed evidence of powder tattooing, which indicates
 that the shots were fired within ½” to 12” from the body.

       Your affiant submits there is probable cause to believe that Saeve Evans violated Title 18,
United States Code, Section 1201(a)(1), which makes it a crime to commit a Kidnapping Resulting
in Death; Title 18, United States Code, Section 924(c)(1)(iii), which makes it a crime to Use,
Brandish and Discharge a Firearm During a Crime of Violence; and Title 18, United States Code,
Section 2, which makes it a crime to Aid and Abet.



                                               _________________________________
                                               Detective Michael Fulton
                                               Metropolitan Police Department

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of February 2022.                            Zia M. Faruqui
                                                                         2022.02.21
                                                                         12:58:13 -05'00'
                                                       ___________________________________
                                                       ZIA M. FARUQUI
                                                       U.S. MAGISTRATE JUDGE




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